                                                                                 Motion GRANTED. PI
                         IN THE UNITED STATES DISTRICT COURT                     Hearing cancelled.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )    No. 2:19-cv-00009
       v.                                            )    JUDGE TRAUGER
                                                     )
OAKLEY PHARMACY, INC., d/b/a                         )
DALE HOLLOW PHARMACY;                                )
                                                     )
               Defendants.                           )

                JOINT CONSENT MOTION FOR ENTRY OF
 A PRELIMINARY INJUNCTION AGAINST DEFENDANTS OAKLEY PHARMACY,
        XPRESS PHARMACY OF CLAY COUNTY, AND THOMAS WEIR

       Plaintiff United States and Defendants Oakley Pharmacy, Inc., d/b/a Dale Hollow

Pharmacy (Dale Hollow), Xpress Pharmacy of Clay County, LLC (Xpress), and Thomas Weir

jointly move the Court to enter a preliminary injunction order against these three Defendants under

Federal Rule of Civil Procedure 65(a) and the Controlled Substances Act, 21 U.S.C. §§ 843(f) and

882(a). As grounds for this consent motion, these parties state the following:

       1. On February 7, 2019, this Court entered a temporary restraining order (TRO) against

            all Defendants, including Dale Hollow, Xpress, and Weir, under Federal Rule of Civil

            Procedure 65(b), Local Rule 65.01, and the Controlled Substances Act, 21 U.S.C. §

            843(f) and 882(a). See Doc. No. 10.

       2. On February 21, 2019, this Court extended the terms of the TRO “until the Court rules

            on the request for a preliminary injunction.” Doc. No. 37.

       3. Dale Hollow, Xpress, and Weir and their counsel agree to have the Court extend the

            preliminary injunction that is currently in effect against them through the date when

            this Court renders a decision on the merits in this action.




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